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17 THE CANTRAN GROUP, INC.
18                            UNITED STATES DISTRICT COURT
19                           CENTRAL DISTRICT OF CALIFORNIA
20
     THE CANTRAN GROUP, INC., a             Case No.: 2-18-cv-02044-SVW-RAO
21 California corporation,                  Assigned to Hon. Stephen V. Wilson
                                            Courtroom 10A
22              Plaintiff,
23                                           [PROPOSED] PROTECTIVE ORDER
          vs.
                                             RE: HIGHLY CONFIDENTIAL
24 THE BRIAD RESTAURANT GROUP,               INFORMATION
   L.L.C, a New Jersey limited liability
25 company,
                                             [Filed concurrently with Joint Stipulation
26               Defendants.                 for Protective Order]
27
                                            Complaint filed: March 12, 2018
28
                                                1
                [PROPOSED] PROTECTIVE ORDER RE: HIGHLY CONFIDENTIAL INFORMATION
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1        The Court has considered the Joint Stipulation for Protective Order re: Highly
2 Confidential Information concurrently filed by counsel for Plaintiff The Cantran Group, Inc.
3 and Defendant The Briad Restaurant Group, L.L.C.. The Court approves the Stipulation for
4 Protective Order and hereby enters said stipulation as an Order of the Court.
5
6        IT IS SO ORDERED.
7
8 Dated:    April 23, 2021               By:
                                               The Honorable Rozella A. Oliver
9
                                               United States Magistrate Judge
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              [PROPOSED] PROTECTIVE ORDER RE: HIGHLY CONFIDENTIAL INFORMATION
